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8    John Canesa
9                                    UNITED STATES DISTRICT COURT
10
                 EASTERN DISTRICT OF CALIFORNIA – SACRAMENTO DIVISION
11

12                                                CASE NO.
     John Canesa,
13

14                             Plaintiff,         PLAINTIFF’S COMPLAINT FOR DAMAGES:
15          v.
                                                     1. Violation of the Rosenthal Fair Debt
16                                                      Collection Practices Act
     American Express Company, and DOES 1            2. Violation of the Telephone Consumer
17   through 100 inclusive,                             Protection Act
18                             Defendants.
19
            COMES NOW Plaintiff John Canesa, an individual, based on information and belief, to
20
     allege as follows:
21
                                             INTRODUCTION
22
        1. This is an action for damages brought by an individual consumer for Defendant’s
23
     violations of the Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code §1788, et seq.
24
     (hereinafter “Rosenthal Act”), which prohibits debt collectors from engaging in abusive,
25
     deceptive, and unfair practices and violation of the Telephone Consumer Protection Act 47
26
     U.S.C. §227, et seq. (hereinafter “TCPA”), which prohibits the use of automated dialing
27
     equipment when making calls to consumers.
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1        2. Plaintiff brings this action against Defendant American Express Company for its
2    abusive and outrageous conduct in connection with debt collection activity.
3        3. In Calif. Civil Code § 1788.1(a)-(b), the California Legislature made the following
4    findings and purpose in creating the Rosenthal Act:
            (a)(1) The banking and credit system and grantors of credit to consumers are dependent
5
            upon the collection of just and owing debts. Unfair or deceptive collection practices
6           undermine the public confidence which is essential to the continued functioning of the
            banking and credit system and sound extensions of credit to consumers.
7
              (2) There is need to ensure that debt collectors and debtors exercise their
8
              responsibilities to another with fairness and honesty and due regard or the rights of the
9             other.

10            (b) It is the purpose of this title to prohibit debt collectors from engaging in unfair or
11
              deceptive acts of practices in the collection of consumer debts and to require debtors to
              act fairly in entering into and honoring such debts, as specified in this title.
12
         4. While may violations are described below with specificity, this Complaint alleges
13
     violations of the statutes cited in their entirety.
14
         5. The TCPA was designed to prevent calls like the ones described herein, and to protect
15
     the privacy of citizens like Plaintiff, and by enacting the TCPA, Congress intended to give
16
     consumers a choice as to how corporate entities may contact them and to prevent the nuisance
17   associated with automated or prerecorded calls.
18
                                        JURISDICTION & VENUE
19
         6. This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337, and 1367, and 47 U.S.C. §
20
     227.
21
         7. This venue is proper pursuant to 28 U.S.C. §1391(b).
22
                                      GENERAL ALLEGATIONS
23       8.   Plaintiff John Canesa (hereinafter “Plaintiff”) is an individual residing in the state of
24   California, and is a “debtor” as defined by Cal. Civ. Code §1788.2(g).

25       9.   At all relevant times herein, Defendant American Express engaged, by the use of mail,
     email, and telephone, in the business of collecting a debt from Plaintiff, and a “consumer debt,”
26
     as defined by Cal. Civ. Code §1788.2(f).
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        10. At all relevant times, Defendant acted as a “debt collector” within the meaning of Cal.
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     Civ. Code §1788.2(c)
2
        11. Plaintiff had taken out an unsecured loan with American Express in or about January
3
     of 2017.
4
        12. The loan Plaintiff took from Defendant American Express was extended primarily for
5
     personal, family or household purposes and is therefore a “debt” as that terms is defined by the
6    Calif. Civil Code § 1788.2(d) of the Rosenthal Act.
7       13. Defendant American Express has been attempting to collect on a debt that originated
8    from monetary credit that was extended primarily for personal, family, or household purposes,
9    and was therefore a “consumer credit transaction” within the meaning of Calif. Civil Code §

10
     1788.2(3) of the Rosenthal Act.
        14. Because Plaintiff, a natural person allegedly obligated to pay money to Defendant
11
     American Express arising from what Plaintiff is informed and believes was a consumer credit
12
     transaction, the money allegedly owed was a “consumer debt” within the meaning of
13
     California Civil Code § 1788.2(f) of the Rosenthal Act.
14
        15. Plaintiff is informed and believes that Defendant is one who regularly collects or
15
     attempts to collect debts on behalf of themselves, and is therefore a “debt collector” within the
16   meaning of the Calif. Civil Code § 1788.2(c) of the Rosenthal Act, and thereby engages in
17   “debt collection” within the meaning of the California Civil Code § 1788.2(b) of the Rosenthal
18   Act, and is also therefore a “person” within the meaning of California Civil Code § 1788.2(g)
19   of the Rosenthal Act.

20
        16. Plaintiff’s account was an unsecured loan and Plaintiff began making payments on the
     accounts.
21
        17. Plaintiff began making payments on the loan before he became financially unable to
22
     keep up with the monthly payments.
23
        18. Defendant American Express began contacting Plaintiff in March of 2018 to inquire
24
     about the status of the loan and to collect on the payments that were no longer being made.
25
        19. Plaintiff retained counsel to assist in dealing with American Express debt and to seek
26   some type of financial relief.
27

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         20. Counsel for Plaintiff sent Defendant American Express a letter confirming
1
     representation of Plaintiff and that Defendant was to no longer contact Plaintiff directly and
2
     that all calls/letters/collection efforts were to no longer be directed at Plaintiff.
3
         21. Counsel for Plaintiff sent the letter of representation to American Express on or about
4
     April 27, 2018, with American Express receiving it on April 30, 2018.
5
         22. Plaintiff informed American Express that he was revoking his consent, if it was ever
6    previously given, to be called on his telephone in April of 2018.
7        23. Plaintiff denies he ever gave his express consent to be contacted on his cellular
8    telephone by automatic dialing machines and pre-recorded messages.
9        24. Defendant American Express continued to contact Plaintiff between approximately

10
     May 1, 2018 – at least May 20, 2018; the type of contact was through phone calls to Plaintiff
     on his cellular telephone.
11
         25. Despite notice being sent Defendant continued to contact Plaintiff on his cellular
12
     telephone regarding collection of his outstanding debt.
13
         26. Plaintiff was contacted frequently regarding non-payment of the debt owed to
14
     American Express despite American Express being notified that Plaintiff had retained counsel
15
     to deal specifically with the debt owed to American Express.
16       27. American Express’s calls were frequent in nature and continued despite receiving
17   written confirmation that Plaintiff was represented by an attorney.
18                                     FIRST CAUSE OF ACTION
                                        (Violation of the Rosenthal Act)
19                                     (Cal. Civ. Code §§ 1788-1788.32)
                                      (Against Defendant and Does 1-100)
20

21       28. Plaintiff realleges and incorporates herein the allegation in each and every paragraph
     above as though fully set forth herein.
22
         29. Plaintiff provided written notice that he was represented by sending Defendant a letter
23
     with the name, address, and contact information of his attorney and informed Defendant that she
24
     was represented.
25
         30. Defendant continued to call and attempt to make contact with Plaintiff despite receiving
26
     notice of representation and being informed that Plaintiff had retained counsel in an effort to deal
27   with the debt that was owed to Defendant.
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         31. The calls and communications made by Defendant to Plaintiff were not related to
1
     statements of Plaintiff’s account and were attempts to collect a debt.
2
         32. Plaintiff received frequent calls from American Express from at least May 1, 2018 –
3
     May 20, 2018.
4
         33. Defendant violated Cal. Civ. Code §1788.14 by contacting Plaintiff after receiving
5
     noticed that Plaintiff had retained an attorney.
6        34. Defendant received notice regarding Plaintiff’s retention of counsel but continued to
7    contact Plaintiff.
8                                    SECOND CAUSE OF ACTION
                                          (Violation of the TCPA)
9                                              (47 USC § 227)
                                     (Against Defendant and Does 1-100)
10

11       35. Plaintiff realleges and incorporates herein the allegation in each and every paragraph
     above as though fully set forth herein.
12
         36. Since at least about March of 2018 Defendant started calling Plaintiff’s cellular
13
     telephone requesting that payment be made on the accounts Plaintiff held with Defendant.
14
         37. Plaintiff informed Defendant that he was revoking consent to be contacted by American
15
     Express in April of 2018.
16
         38. American Express continued to call Plaintiff frequently since Plaintiff withdrew his
17   consent to be contacted by an automatic dialing machine.
18       39. Defendant would contact Plaintiff frequently regarding payment on the accounts.
19       40. Defendant placed the above cited calls using an artificial or prerecorded voice to deliver

20   the collection messages without Plaintiff’s prior express consent.

21       41. Defendant contacted Plaintiff for nearly three weeks after Plaintiff informed Defendant
     he did not wish to be contacted on his cellular telephone and withdrew any prior consent that
22
     may have been given.
23
         42. All calls placed by Defendant to Plaintiff utilized an “automatic telephone dialing
24
     system” as defined by 47 U.S.C. §227(a)(1).
25
         43. These calls were made to Plaintiff’s cellular telephone and were not calls for an
26
     emergency purposed as defined by 47 U.S.C. §227(b)(1)(B).
27       44. These telephone calls by Defendant, or its agent, violated 47 U.S.C. §227(b)(1)(B).
28                                       PRAYER FOR RELIEF
                                                        5
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     WHEREFORE, Plaintiff prays for judgment as follows:
1
                a. An award of actual damages pursuant to California Civil Code §1788.30(a), as
2
                    will be proven at trial, which are cumulative and in addition to all other
3
                    remedies provided for in any other cause of action pursuant to California Civil
4
                    Code §1788.32.
5
                b. An award of statutory damages of $1,000.00 pursuant to Cal. Civ. Code
6                   §1788.30(b), which are cumulative and in addition to all other remedies
7                   provided for in California Civil Code §1788.32; and
8               c. An award of costs of litigation and reasonable attorney’s fees pursuant to Cal.
9                   Civ. Code §1788.30(c).

10
                d. An award of statutory damages of $1,500.00 pursuant to 47 U.S.C.
                    §227(b)(3)(C) for each and every violation.
11
                e. Pursuant to 47 U.S.C. §227(b)(3)(A), injunctive relief prohibiting such conduct
12
                    in the future.
13
                f. Pursuant to 15 U.S.C. 1692(k) both actual damages and statutory damages in an
14
                    amount to be proven at trial.
15
                                                          SAGARIA LAW, P.C.
16   Dated: May 31, 2018                            By:   /s/ Elliot Gale
                                                          Scott Sagaria, Esq.
17                                                        Elliot Gale, Esq.
                                                          Attorneys for Plaintiff
18

19                                   DEMAND FOR JURY TRIAL

20          Plaintiff hereby demands trial of this matter by jury.
21
                                                           SAGARIA LAW, P.C.
     Dated: May 31, 2018                                   /s/ Elliot Gale
22                                                         Scott Sagaria, Esq.
                                                           Elliot Gale, Esq.
23
                                                           Attorneys for Plaintiff
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